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VIDEO CIVIL MOTION HEARING

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Date: December 20, 2021
Judge B. Lynn Winmill                                   Deputy Clerk: Jamie Gearhart
Case No. 3:21-cv-56                                     Reporter: Tammy Hohenleitner
Place: Video                                            Time: 9:35 – 10:54 a.m.


Friends of the Clearwater v. Cheryl F. Probert, et al

Counsel for Plaintiff: Dave Bahr, John Mellgren, and Katheryn Bilodeau

Counsel for Defendant: Bob Firpo and Christine England

A motion hearing was held by Zoom on December 20, 2021 regarding the following motions:

1. Plaintiff’s Motion for Summary Judgment (Dkt. 25), and

2. The Forest Service’s Cross-Motion for Summary Judgement (Dkt. 29).

The Court took the matter under advisement. A written decision is forthcoming.
